Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 1 of 14




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   ZEPHERINE MILLER,                                §
                                                    §
          Plaintiff,                                §
                                                    §
   v.                                               §       Civil Action No. 1:23-cv-02620-MEH
                                                    §
   NATIONAL CREDIT SYSTEMS, INC.,                   §
                                                    §
          Defendant.                                §



                       DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
                       ANSWER TO PLAINTIFF’S AMENDED COMPLAINT


          National Credit Systems, Inc. (“Defendant” or “NCS”) files this answer to respond to

   Plaintiff’s First Amended Complaint and Jury Demand (the “Complaint”) filed by Plaintiff

   Zepherine Miller (“Plaintiff” or “Miller”) and would show the Court as follows:

                                   A. ADMISSIONS & DENIALS

          Pursuant to Rule 8(b), Defendant makes the following admissions, denials and other

   responses to Plaintiff’s averments, by corresponding paragraph number used in the Complaint:

                                            I. INTRODUCTION

          1.      Defendant does not dispute that Plaintiff brings the action described by Paragraph

   1, however Defendant denies any liability for the alleged claims and denies that Plaintiff suffered

   any damages as a result of any unlawful conduct by Defendant as described by Paragraph 1.

   Defendant admits that Plaintiff applied for and signed a Lease for the Alas Over Lowry Apts

   managed by The Connor Group (collectively the “Original Creditor”), that the Original Creditor

   repeatedly confirmed and verified the alleged debt including the security deposit issue after



   DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                                 Page 1 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 2 of 14




   Defendant received from disputes from Plaintiff and performed reasonable investigations.

   Defendant denies any facts in Paragraph 1 not specifically admitted.

          2.      Defendant does not dispute that Plaintiff sued and obtained the offer of judgment

   obtained, but denies that Defendant did not perform a reasonable investigation. Defendant

   denies any facts in Paragraph 2 not specifically admitted.

                                  II. PARTIES, JURISDICTION, AND VENUE

          3.      Defendant lacks sufficient information to know the truth whether Plaintiff is

   residing in Oklahoma County, Oklahoma.

          4.      Defendant admits the allegations in Paragraph 4.

          5.      Defendant admits the allegations in Paragraph 5.

          6.      Defendant admits the allegations in Paragraph 6.

          7.      Defendant admits the allegations in Paragraph 7.

          8.      Defendant admits the allegations in Paragraph 8.

          9.      Defendant admits the allegations in Paragraph 9.

          10.     Defendant admits the allegations in Paragraph 10.

          11.     Defendant denies the allegations in Paragraph 11.

          12.     Defendant denies the allegations in Paragraph 12.

          13.     Defendant admits the allegations in Paragraph 13.

          14.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 14.

          15.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 15.




   DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                              Page 2 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 3 of 14




          16.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 16.

          17.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 17.

          18.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 18.

          19.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 19.

          20.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 20.

          21.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 21.

          22.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in 22.

          23.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 23.

          24.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 24.

          25.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 25.

          26.     Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 26.




   DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                             Page 3 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 4 of 14




          27.      Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 27.

          28.      Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 28.

          29.      Upon the advice of Counsel for confidentiality and relevancy reasons, Defendant

   refuses to admit or deny the allegation in Paragraph 29.

          30.      Defendant admits that it uses a company with an office in India, Provana, to assist

   in the performance of reasonable dispute investigations, but denies the remaining allegations in

   Paragraph 30.

          31.      Defendant admits the allegations in Paragraph 31.

          32.      Defendant admits the allegations in Paragraph 32.

          33.      Defendant admits the allegations in Paragraph 33.

          34.      Defendant admits the allegations in Paragraph 34, however removed the case to

   this Court.

          35.      Defendant admits the allegations in Paragraph 35, however removed the case to

   this Court.

          36.      Defendant denies the allegations in Paragraph 36.

                                        FACTUAL ALLEGATIONS

                                              Background

          37.      Defendant admits the allegations in Paragraph 37.

          38.      Defendant lacks sufficient information to know the truth about the allegations

   contained in Paragraph 38.




   DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                                 Page 4 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 5 of 14




          39.      Defendant lacks sufficient information to know the truth about the allegations

   contained in Paragraph 39.

          40.      Defendant admits the allegations in Paragraph 40.

          41.      Defendant lacks sufficient information to know the truth about the allegations

   contained in Paragraph 41.

          42.      Defendant admits the allegations in Paragraph 42.

          43.      Defendant admits the allegations in Paragraph 43.

          44.      Defendant lacks sufficient information to know the truth about the allegations

   contained in Paragraph 44.

          45.      Defendant admits the allegations in Paragraph 45.

          46.      Defendant admits the allegations in Paragraph 46.

          47.      Defendant admits the allegations in Paragraph 47.

          48.      Defendant admits the allegations in Paragraph 48.

          49.      Defendant admits the allegations in Paragraph 49.

          50.      Defendant denies the allegations in Paragraph 50.

          51.      Defendant admits the allegations in Paragraph 51.

          52.      Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 52.

          53.      Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 53.

          54.      Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 54.




   DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                               Page 5 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 6 of 14




          55.      Defendant admits receiving ACDVs in April and May 2023 but otherwise denies

   the allegations in Paragraph 55

          56.      Defendant admits the allegations in Paragraph 56.

          57.      Defendant denies the allegations in Paragraph 57.

          58.      Defendant denies the allegations in Paragraph 58.

          59.      Defendant admits the allegations in Paragraph 59.

          60.      Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 60.

          61.      Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 61.

          62.      Defendant denies the allegations in Paragraph 62.

          63.      Defendant denies the allegations in Paragraph 63.

          64.      Defendant denies the allegations in Paragraph 64.

          65.      Defendant denies the allegations in Paragraph 65.

          66.      Defendant denies the allegations in Paragraph 66.

          The Debt Collector’s Debt Collection and Credit Dispute Investigation Processes

          67.      Defendant denies the allegations in Paragraph 67.

          68.      Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 68.

          69.      Defendant admits the allegations in Paragraph 69.

          70.      Defendant denies the allegations in Paragraph 70.

          71.      Defendant admits in part the allegations in Paragraph 71, as Defendant uses the

   assistance of Provana to perform reasonable dispute investigations.


   DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                               Page 6 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 7 of 14




          72.      Defendant admits in part the allegations in Paragraph 72, as Defendant uses the

   assistance of Provana to perform reasonable dispute investigations.

          73.      Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 73.

          74.      Defendant denies the allegations in Paragraph 74.

          75.      Defendant denies the allegations in Paragraph 75.

          76.      Defendant denies the allegations in Paragraph 76.

          77.      Defendant denies the allegations in Paragraph 77.

          78.      Defendant denies the allegations in Paragraph 78.

          79.      Defendant denies the allegations in Paragraph 79.

          80.      Defendant denies the allegations in Paragraph 80.

          81.      Defendant denies the allegations in Paragraph 81.

          82.      Defendant denies the allegations in Paragraph 82.

          83.      Defendant denies the allegations in Paragraph 83.

                                      The Debt Collector’s Knowledge

          84.      Defendant denies the allegations in Paragraph 84.

          85.      Defendant denies the allegations in Paragraph 85.

          86.      Defendant denies the allegations in Paragraph 86.

          87.      Defendant admits that it conducted a reasonable investigation, and denies any fact

   to the contrary in Paragraph 87.

          88.      Defendant denies the allegations in Paragraph 88.

          89.      Defendant admits the allegations in Paragraph 89.

          90.      Defendant denies the allegations in Paragraph 90.


   DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                                Page 7 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 8 of 14




           91.     Defendant admits the allegations in Paragraph 91, but denies that it is in the

   alternative.

           92.     Defendant denies the allegations in Paragraph 92.

           93.     Defendant denies the allegations in Paragraph 93.

           94.     Defendant denies the allegations in Paragraph 94.

           95.     Defendant denies the allegations in Paragraph 95.

           96.     Defendant denies the allegations in Paragraph 96.

           97.     Defendant denies the allegations in Paragraph 97.

           98.     Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 98.

           99.     Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 99.

           100.    Defendant admits that Defendant disputed the alleged debt, but denies it

   knowingly or negligently furnished inaccurate information as alleged in Paragraph 100.

           101.    Defendant denies the allegations in Paragraph 101.

           102.    Defendant denies the allegations in Paragraph 102.

           103.    Defendant denies the allegations in Paragraph 103.

           104.    Defendant denies the allegations in Paragraph 104.

           105.    Defendant denies the allegations in Paragraph 105.

           106.    Defendant admits that it follows all required regulatory guidelines, and without

   more specific information in Paragraph 106, cannot admit vague or nonspecific information in an

   internet cite




   DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                               Page 8 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 9 of 14




          107.    Defendant denies the allegations in Paragraph 107 particularly as no time frame is

   provided.

          108.    Defendant denies the allegations in Paragraph 108.

          109.    Defendant denies the allegations in Paragraph 109.

          110.    Defendant denies the allegations in Paragraph 110.

          111.    Defendant denies the allegations in Paragraph 111.

          112.    Defendant denies the allegations in Paragraph 112.

          113.    Defendant denies the allegations in Paragraph 113.

                                             COUNT 1
                        (VIOLATIONS OF THE FDCPA, 15 U.S.C. § 1692 ET SEQ.)

          114.    Defendant re-alleges and incorporates by reference each of its responses to the

   preceding paragraphs as though fully set forth herein.

          115.    Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 115.

          116.    Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 116.

          117.    Defendant lacks sufficient information to know the truth about the allegations in

   Paragraph 117.

          118.    Paragraph 118 contains argument and legal authority, not facts. To the extent any

   facts are alleged in Paragraph 118, Defendant denies same.

          119.    Defendant denies the allegations in Paragraph 119.

          120.    Paragraph 120 contains only legal argument, and not any factual averments about

   Plaintiff’s claim for Defendant to admit or deny. To the extent that Paragraph 120 does contain

   any factual averments, Defendant denies same.
   DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                               Page 9 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 10 of
                                     14




         121.    Defendant denies the allegations in Paragraph 121.

         122.    Paragraph 122 contains only legal argument, and not any factual averments about

  Plaintiff’s claim for Defendant to admit or deny. To the extent that Paragraph 122 does contain

  any factual averments, Defendant denies same.

         123.    Defendant denies the allegations in Paragraph 123.

         124.    Defendant denies the allegations in Paragraph 124.

         125.    Defendant denies that Plaintiff is entitled to any requests for relief as provided in

  Paragraph 125.

                                           COUNT II
                        VIOLATIONS OF THE FCRA, 15 U.S.C. § 1681 ET SEQ.)

         126.    Defendant re-alleges and incorporates by reference each of its responses to the

  preceding paragraphs as though fully set forth herein.

         127.    Defendant lacks sufficient information to know the truth about the allegations in

  Paragraph 127.

         128.    Defendant admits the allegations in Paragraph 128.

         129.    Paragraph 129 contains only legal argument, and not any factual averments about

  Plaintiff’s claim for Defendant to admit or deny. To the extent that Paragraph 129 does contain

  any factual averments, Defendant denies same.

         130.    Defendant denies the allegations in Paragraph 130.

         131.    Defendant denies the allegations in Paragraph 131.

         132.    Defendant denies the allegations in Paragraph 132.

         133.    Defendant denies the allegations in Paragraph 133.

         134.    Defendant denies the allegations in Paragraph 134.

         135.    Defendant denies the allegations in Paragraph 135.
  DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
  ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                                 Page 10 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 11 of
                                     14




          136.    Defendant denies that Plaintiff is entitled to any requests for relief as provided in

  Paragraph 136.

          137.    Defendant denies that Plaintiff is entitled to any requests for relief as provided in

  Paragraph 137.

          138.    Defendant denies the allegations in Paragraph 138.

          139.    Defendant denies the allegations in Paragraph 139.

                                             JURY DEMAND

          The demand for jury trial is without any factual averment(s) to admit or deny.

          In the unnumbered and untitled paragraph following Plaintiff’s Jury Demand, Defendant

  denies that Plaintiff is entitled to any requests for relief numbered 1 through 7.

          In addition, Defendant denies any factual averments made in the Complaint that are

  not specifically admitted above.

                                   B. AFFIRMATIVE DEFENSES

          AD1. At all relevant times, Defendant maintained and followed reasonable procedures

  to avoid violations of the FCRA.

          AD2. Defendant, in compliance with the FCRA, reasonably investigated Plaintiff’s

  alleged Debt and verified and updated its data furnishing accordingly.               Such reasonable

  investigation included verifying the subject debt with the Original Creditor in light of the

  Plaintiff’s dispute.

          AD3. Defendant maintains that it properly and timely changed its reporting of

  information related to Plaintiff’s alleged debt to the consumer reporting agencies as disputed;

  and Defendant has not acted with negligence, malice, actual malice, or willful intent to injure or

  failure to follow the obligations of the FCRA in performing reasonable investigations of


  DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
  ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                                  Page 11 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 12 of
                                     14




  Plaintiff’s disputes, particularly when the documentation available from the Original Creditor

  supports the alleged debt and the Original Creditor confirmed the debt during the investigation

  process despite any court order.

         AD4. Plaintiff’s claims against Defendant are barred in whole or in part, by the fact

  Plaintiff has no actual or concrete damages resulting from any unlawful conduct by Defendant,

  See e.g., Spokeo, Inc. v. Robins, 135 S. Ct. 1892 (2015); TransUnion LLC v. Ramirez, 141 S. Ct.

  2190 (2021).

         AD5. Plaintiff’s claims against Defendant are barred because Plaintiff’s disputes (a)

  were not objectively verifiable based on the information and documents provided by Plaintiff

  and available to Defendant from the Original Creditor, including the Original Creditor’s

  verification of the debt, and/or (b) involved a legal dispute or affirmative defense.

         AD6. Even if Plaintiff proves the allegations in the Complaint, Defendant is not liable to

  Plaintiff because the FDPCA exculpates collectors who make mistakes notwithstanding the use

  of reasonable procedures adopted to prevent making them.              Defendant has policies and

  procedures to prevent or avoid the claims asserted by Plaintiff. Any actions or omissions

  resulting in the alleged FDCPA violations was not intentional and resulted from a bona fide

  mistake, notwithstanding the use of such reasonable procedures Defendant has adopted to avoid

  such actions or omissions. See 15 U.S.C. § 1692k(c).

         AD7. Plaintiff’s claims are barred in whole or in part by Plaintiff’s failure to mitigate,

  unclean hands, and/or failure to provide sufficient information for Defendant to resolve the

  alleged dispute regarding the subject debt.

         AD8. Plaintiff’s claims against Defendant are barred, or Defendant is not liable for

  Plaintiff’s claims, due to intervening or superseding causes.


  DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
  ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                                 Page 12 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 13 of
                                     14




          AD9. Plaintiff’s claims against Defendant are barred, or Defendant is not liable for

  Plaintiff’s claims, due to the actions of third parties.

          AD10. Pleading affirmatively, Defendant reserves any and all defenses available under

  the FDCPA and applicable Federal Trade Commission rules, regulations, orders, and decisions.

          AD11. As a separate alternative affirmative defense to the Complaint, Defendant alleges

  that Plaintiff’s claims may be barred by any or all of the affirmative defenses contemplated by

  Rule 8(c) of the Federal Rules of Civil Procedure. The extent to which Plaintiff’s claims may be

  barred by one or more of said affirmative defenses, not specifically set out herein, cannot be

  determined until Defendant has had an opportunity to complete discovery. Therefore, Defendant

  incorporates all said affirmative defenses as if fully set forth herein.

          AD12. Defendant reserves the right to amend or supplement its affirmative defenses to

  include any defenses of which it is not presently aware.


                                                 PRAYER

          Defendant requests a judgment that Plaintiff takes nothing on her claims against

  Defendant and that Plaintiff’s claims against Defendant are dismissed. Defendant prays for such

  other and further relief to which Defendant is entitled.




  DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
  ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                             Page 13 of 14
Case No. 1:23-cv-02620-NYW-MEH Document 20 filed 12/06/23 USDC Colorado pg 14 of
                                     14




                                                Respectfully submitted,


                                                By: ____s/John W. Bowdich____________
                                                       JOHN W. BOWDICH
                                                       State Bar No. 00796233

                                                BOWDICH & ASSOCIATES, PLLC
                                                8150 N. Central Expy., Suite 500
                                                Dallas, Texas 75206
                                                (214) 307-9500 – Telephone
                                                (214) 307-5137 – Telecopy
                                                jbowdich@bowdichlaw.com

                                                ATTORNEYS FOR DEFENDANT
                                                NATIONAL CREDIT SYSTEMS, INC.


                                    CERTIFICATE OF SERVICE

          On December 6, 2023, I electronically submitted the foregoing document with the clerk
  of court for the U.S. District Court, District of Colorado using the electronic case filing system of
  the court, thereby providing service to all parties.

         Daniel J. Vedra, Esq.          VIA ECF
         VEDRA LAW LLC
         1444 Blake Street
         Denver, CO 80202
         ATTORNEY FOR PLAINTIFF

                                                By:_____ s/John W. Bowdich_________
                                                      JOHN W. BOWDICH




  DEFENDANT NATIONAL CREDIT SYSTEMS, INC.’S
  ANSWER TO PLAINTIFF’S AMENDED COMPLAINT                                                  Page 14 of 14
